Case:22-13051-JGR Doc#:112 Filed:09/20/23                   Entered:09/20/23 12:10:22 Page1 of 3

                                                                     EXHIBIT 1
                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

  IN RE:                                             )
                                                     )
  STATERA BIOPHARMA, INC.,                           ) Case No. 22-13051-JGR
                                                     )
                                                     ) Chapter 11
          Involuntary Debtor.                        )
                                                     )


               ORDER GRANTING JOINT MOTION TO DISMISS INVOLUNTARY
                                    CASE


          THIS MATTER came before the Court upon Noreen Griffin, Peter Aronstam, Stephen

 Wilson, Latitude Pharmaceuticals Inc., PharPoint Research (collectively, the “Petitioning

 Creditors”), and alleged debtor, Statera Biopharma, Inc.’s (“Statera” and together with the

 Petitioning Creditors, the “Movants”) Joint Motion to Dismiss Involuntary Case (the “Motion”);

 the Court having considered the Motion and any objections and responses thereto; the Court having

 found that notice of the Motion is proper under the circumstances; and the Court being otherwise

 advised in the premises of the Motion hereby FINDS:

          A.       The Petitioning Creditors and Statera voluntarily attended a mediation on March

 21, 2023.

          B.       As a result of the mediation, the Petitioning Creditors and Statera entered into a

 certain settlement agreement attached to the Motion as Exhibit 1.

          C.       Avenue Venture Opportunities Fund, L.P. (“AVOF”) filed an objection to the

 Motion (Doc #103), which objection has been resolved by the Movant’s agreement to modify the

 original settlement agreement as incorporated into to this proposed Order.




                                                     1
4886-7494-2847.3
Case:22-13051-JGR Doc#:112 Filed:09/20/23                    Entered:09/20/23 12:10:22 Page2 of 3



          D.       The Motion and this order is submitted on consent of all Petitioning Creditors,

 Statera and AVOF pursuant to 11 U.S.C. § 303(j)(2).

          THE MOVANTS HEREBY STIPULATE AND THE COURT HEREBY ORDERS:

          1.       The Motion is granted solely to the extent set forth herein.

          2.       The involuntary petition is dismissed pursuant to 11 U.S.C. § 303(j)(2).

          3.       Any claims for bad faith that Statera may hold against the Petitioning Creditors
                   under 11 U.S.C. § 303 are waived by Statera.

          4.       Noreen Griffin (“Griffin”) asserts claims totaling $1,414,000 for license
                   agreements and promissory notes. Griffin agrees to accept $382,400 on account of
                   such claims.

          5.       Griffin’s employment claim will be $18,333.33 and it will be treated as all other
                   employment claims.

          6.       Immune Therapeutics, Inc. (“Immune”) waives all claims it may have of any kind
                   against Statera. Statera waives all claims it may have of any kind against Immune.

          7.       Peter Aronstam (“Aronstam”) shall have a claim for unpaid wages in the amount of
                   $50,000.02. Aronstam reserves his rights to assert severance claim and Statera
                   reserves its rights to object to such severance claims.

          8.       Steve Wilson (“Wilson) shall have a claim for unpaid wages in the amount of
                   $86,041.65. Wilson reserves his rights to assert severance claims, and Statera
                   reserves its rights to object to such severance claims.

          9.       PharPoint Research shall have a claim in the amount of $425,613.28.

          10.      Latitude Pharmaceuticals shall have a claim in the amount of $140,194.04.

          11.      Unless otherwise set forth herein, all rights of creditors, interest holders and other
                   parties in interest of Statera (including, but not limited to AVOF) are hereby
                   preserved and have not been waived or modified in any way by this Order.

          12.      This Court shall retain jurisdiction with respect to any matters related to or arising
                   from the implementation, interpretation, or enforcement of this Order.




                                                     2
4886-7494-2847.3
Case:22-13051-JGR Doc#:112 Filed:09/20/23     Entered:09/20/23 12:10:22 Page3 of 3



 DATED: September 20, 2023

                                            BY
                                             Y THE
                                                HE COURT
                                                HE COURT



                                            Honorable
                                                  a le Joseph G. Rosania, Jr.,
                                             onoorab
                                            United States Bankruptcy Judge




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4886-7494-2847.3
